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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRIC'I` OF IDAHO

JENNIFER DUMMAR, ) Case No. CV-OS-l'f$~E-BLW
Plainciff, )
) Judge B. Lynn Winmill
vs. )

) ORDER OF DISMISSAL WITH
EXPERIAN INFORMATION SOLUTIONS, INC.; ) PREJUDICE
EQUIFAX INFORMATION SERVICES, LLC; )
TRAN UNION, LLC; and )
CAPITAL ONE FINANCIAL CORPORATION; )
Defendants. )
)

 

Pro Se Plaintiff Jennifer Dummar and Defendant Trans Union, LLC, by counsel, having
filed their Stipulation Of Dismissal With Prejudice, (Docket No. 15), AND THE COURT, having
been duly advised, NOW FINDS that the same shduld be granted

IT IS, THEREFORE, ORDERED that all claims of Pro Se Plaintiff]ennifcr Dummar against
Defendant Trans Union, LLC only are dismissed, with prejudice. Pro Se Plaintiff]ennifer Dummar
and Defendant Trans Union, LLC shall each bear their own costs and attorneys' fees.

DATED: May 31, 2008

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WINMILL
Chief udge
United States District Court

 

 

 

